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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION



 RAVGEN, INC.,

                        Plaintiff,                   Civil Action No. 1:20-cv-00692-ADA

                v.                                   JURY TRIAL DEMANDED

 NATERA, INC. AND NSTX, INC.,


                        Defendants.



 JOINT NOTICE REGARDING AMENDMENT TO SCHEDULING ORDER FOR THE
          PARTIES TO SERVE SUPPLEMENTAL EXPERT REPORTS

        Pursuant to the Court’s Amended Standing Order Regarding Joint or Unopposed Request

to Change Deadlines dated March 7, 2022, Plaintiff Ravgen, Inc. and Defendants Natera, Inc. and

NSTX, Inc. (“Natera”) hereby provide joint notice that the parties agree to amend the scheduling

order to allow leave to serve (1) the Third Supplement to the Opening Expert Report of Brian G.

Van Ness, Ph.D. Concerning Natera, Inc. and NSTX, Inc.’s Infringement of U.S. Patent No.

7,332,277 dated October 8, 2023; and (2) the Supplemental Responsive Expert Report of John

Quackenbush, Ph.D. Regarding Noninfringement of U.S. Patent No. 7,332,277 dated October 10,

2023. The parties agree that there will be no additional deposition time for either Dr. Van Ness or

Dr. Quackenbush based on the service of the above identified reports. This notice does not change

the date of any hearing, trial or other Court date and does not extend any deadline of a final

submission that affects the Court’s ability to hold a scheduled hearing, trial, or Court event.




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Dated: October 16, 2023                         By:
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                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that all counsel of record who are deemed to have

consented to electronic service are being served with a copy of this document via the Court’s

CM/ECF system on October 16, 2023.


                                          /s/ Kerri-Ann Limbeek
                                          Kerri-Ann Limbeek




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